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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

UNITED STATES OF AMERICA             )
                                     )
        v.                           )     No. 19 CR 864
                                     )
SHRADHA AGARWAL                      )
                                     )     Judge Thomas M. Durkin
                                     )

 GOVERNMENT’S POSITION PAPER ON SENTENCING FACTORS
 AND OBJECTION TO THE PRESENTENCE REPORT REGARDING
                 DEFENDANT AGARWAL

      Shradha Agarwal helped kickstart the fraud at Outcome Health and

became its second largest beneficiary. She was an early implementer of the

Outcome playbook of inflate, under-deliver and conceal. When later removed

from the day to day of overselling advertising campaigns, Agarwal continued

to support and condone the scheme that fueled the company’s growth. Even as

the company began to professionalize and clean up its fraudulent practices,

Agarwal was adamant that the past should be ignored, and naysayers silenced.

Nothing would stand between her and the fortune and fame she stood to gain.

      As Outcome’s co-founder, Chief Strategy Officer, and later its President,

Agarwal had the unique ability to impact the company’s direction—whether it

grew through transparency or dishonesty. She joined Rishi Shah, her co-

founder and co-defendant, and chose the latter. She oversaw a scheme that

defrauded clients, lenders and investors of hundreds of millions of dollars. And
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she tried to bury the evidence of her scheme. For these reasons, the jury

convicted her of 15 of 17 counts of mail, wire and bank fraud.

        These were serious offenses that merit serious punishment. Agarwal was

a leading participant in the scheme for many years and was instrumental in

causing losses of more than $500 million. The Court should sentence the

defendant to 10 years in prison, a sentence well-supported by the 18 U.S.C.

§ 3553(a) factors.

   I.        Background

        The government will assume familiarity with the government’s version

of the offense in order to reduce the length of this filing. The government’s

version is hereby incorporated by reference.

        A.     Agarwal joined Outcome Health and the fraud scheme.

        Alongside Shah, Agarwal was the original participant in the fraud at

Outcome. In 2006, Agarwal joined Outcome Health (then ContextMedia), while

still an undergraduate at Northwestern—she was later rebranded as one of the

company’s co-founders. Agarwal started working full-time after her graduation

in 2008. By early 2011, she knew that Shah was willing to lie to accelerate the

company’s growth. As captured in an email exchange in February 2011,

Agarwal called out Shah for lying to potential clients about how many

endocrinologist offices Outcome’s devices were in. GX2. Shah brushed aside



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Agarwal’s concerns on the grounds that Outcome would soon be in the number

of offices they were claiming they had. Id.

      The following year Agarwal’s unease with making such misstatements

had disappeared. She routinely instructed Jason Ketchum to include out-of-

network offices in list matches given to clients, in the hopes that the company

would acquire the missing offices (albeit a slightly different set of offices) by

the time the campaign started. Yet these “projections” were often concealed

from clients or salespeople, and instead were represented as current inventory.

For example, in the Pradaxa list match in November 2012, Agarwal told

Ketchum to include offices in the list match that Outcome had not even started

calling yet. GX67. In August 2013, Agarwal admitted in an email about the

Pradaxa campaign, “[T]he biggest issue here is that the list they have of 1819

matches isn’t the true list (not even 1/3rd of it was installed at the time).”

GX265. Yet Lyndon Chin, who worked at the client ad agency, testified that he

understood the Pradaxa list-match results to indicate currently installed

inventory. Tr. 6252.

      This deception was accomplished by leaving the salespeople in the dark.

In early 2013, Shah asked Agarwal whether Bob Mons, a salesperson, knew

that the Pradaxa list match had included a projection. GX140. Her response?

“I’m not sure in this particular case, but generally the team doesn’t know it’s a

projection because they get confused about how to represent it.” Id. Agarwal

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later tried to rationalize this concealment, and the resulting shortfall when the

campaign started, by telling others within the company that the campaign was

being delivered on a weighted average basis. In fact, there was no hope of the

company satisfying the campaign on a weighted average basis, and they never

did.




       In other list matches, Agarwal would have Ketchum falsely indicate in

spreadsheets for clients that certain offices were within Outcome’s network

when in fact many of them were not. GX107, 210, 213, 213, 1112, 1112a. These

lies appeared not only in list matches but also in proofs of performance and

location lists for campaigns like Humira and Crestor, where Outcome had to

tell the client exactly where the campaign was live. GX68, 1077, 1077a.

Agarwal ensured that Outcome concealed its delivery shortfalls from these

clients.




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      When it came to selling the 2014 Pradaxa campaign, Agarwal agreed

with Desai that they would have to lie once again in the list match. Desai

wrote, “I think there are certain match numbers we will have to hit as they are

adding back old physicians we claimed to have had, but think we can limit the

additional growth.” GX308. Agarwal’s response? “Ditto.” Id. To conceal their

earlier inflation and under-delivery, Agarwal and her co-defendants sold an

even larger program to the ad agency representing Pradaxa. GX346, 1167. In

other words, by the end of 2013, Agarwal had abandoned her initial hesitancy

and was fully committed to the scheme of inflate, under-deliver and conceal.

      B.    Agarwal continued to support the scheme as Outcome’s
            President.

      Even when Agarwal stepped back from the day-to-day of selling

campaigns, she continued to support the same essential scheme she had helped


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implement. Desai took over the sales side of the business, and Agarwal

oversaw the membership side of the business, the part that went out to acquire

new offices. In that role, and as the company’s President, Agarwal had high-

level visibility into the ongoing scheme that was fueling Outcome’s growth.

She participated in meetings with Shah and Desai—some of which included

David Ma—about the company’s inventory needs and the “delta” between its

obligations and its inventory. Tr. 2331-32, 3655-56; GX360, 475, 1027, 1153;

DX3492. She received and reviewed the delta reports herself, GX475, 483, 594,

which detailed, in real time, substantial under-deliveries. All the while the

clients were billed in full.

      Her support for this extensive, ongoing fraud was best captured in her

“smoke bomb” comment to David Ma. In early 2015, Ma reported directly to

Agarwal and had a biweekly meeting with her. Tr. at 2423-24. During one of

these meetings, Ma expressed his concerns with Outcome’s practice of

overselling inventory. Id. at 2424-25. Agarwal’s response was telling: “We

throw smoke bombs.” Id. at 2425. As Ma testified, the purpose of these “smoke

bombs” was to distract so the company could then “clean up our operations.”

Id. Ma believed that Agarwal had “rationalized in her mind” that dishonest

growth was just the way the company did business. Id. at 2426.

      Her continued rationalization of the fraud was borne out in how Agarwal

handled delivery shortfalls and operational errors. When Desai alerted

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Agarwal to a massive operations error in June 2016, she did not insist on

immediate disclosure, credits, or refunds to clients. GX588; DX11031. When

Liane Pierce conducted a campaign audit a few weeks later, showing material

shortfalls in more than 50% of all campaigns, Agarwal did nothing. GX594,

594a. It was the Outcome way to conceal such shortfalls from clients. Tr. 3788.

Indeed, the following month, Agarwal joined Shah at a public forum where

they boasted they had solved the chicken-and-egg problem of simultaneously

obtaining doctors offices and pharma clients to advertise in those offices, when

in fact they had sold offices that did not exist and then concealed the inevitable

shortfalls. GX606.

      C.    Agarwal diminished the past and silenced dissent.

      As Outcome grew to become the leading point-of-care advertising

provider in the country, the defendants knew they had to professionalize—but

not at the cost of exposing their prior misdeeds. When Sameer Kazi joined and

threatened to do just that, Agarwal and Shah were determined to keep him

silent.

      Kazi was recruited in late 2016 to take over the sales side of the business.

But within weeks of his joining in January 2017 he learned about Outcome

intentionally overselling inventory, sending false affidavits to clients, and

manipulating ROI reports. Tr. at 277-82. Word quickly got back to Agarwal

and Shah that Kazi was digging into the companies’ fraudulent business

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practices. GX747, 752. In a Voxer on January 23, 2017 to Shah, Agarwal

worried that Kazi “may even share this [information] with others.” GX747. She

then stated her desire to get rid of Liane Pierce and Adam Prowker, who had

alerted Kazi to the misconduct. Id. (The jury convicted Agarwal of Count 14 for

sending that Voxer.) Agarwal then warned Desai about Kazi’s discovery and

helped prepare him on how to respond to Kazi’s inquiries. GX754. Agarwal

supported Shah in his desire to push Kazi, Prowker and Pierce out of the

company. GX778.

      D.    Agarwal lied to the auditor, lenders and investors.

      Driven by their ambitions of growing Outcome exponentially, by early

2016, Shah, Agarwal and Purdy “started to look for outside investors in the

company to raise money.” Tr. 3978. Before Outcome could raise outside capital,

however, it would need to have its financial statements audited by a “Big Four”

accounting firm. Tr. 3977–78, 6886–87, 7767. Defendants hired Deloitte &

Touche LLP (“Deloitte”) for that purpose in 2016. Id. By that time, fraud had

been deeply engrained in Outcome for years. And concealment of the fraud was

critical not only to keeping its client-victims in the dark; it was essential to

securing an unqualified audit opinion letter from Deloitte.

      Despite participating in fraud for years and ignoring or marginalizing

the ever-growing chorus of employees lobbing well-founded allegations of

fraud, Shah, Agarwal and Purdy signed management representation letters in

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March of 2016 and March of 2017 that represented that they “ha[d] no

knowledge of any fraud or suspected fraud affecting the company involving

management” and that they “ha[d] no knowledge of any allegations of fraud or

suspected fraud affecting the company’s financial statements” and submitted

those letters to Deloitte. GX562, 910; Tr. 7008–10, 7123–25. Shah, Agarwal

and Purdy similarly lied in annual “fraud-inquiry meetings” with Deloitte,

denying knowledge of any actual, suspected or alleged fraud at Outcome. Tr.

6978; GX1932-33.

      The defendants’ deceit was successful. They obtained the audit opinion

letter from Deloitte and used that letter and Outcome’s inflated revenue

figures to raise approximately $1 billion for the company. First, mere days

after receiving the opinion letter for 2015, the defendants used it to secure a

$110 million loan from JPMorgan Chase Bank and other lenders. GX573; Tr.

7774. Shah and Agarwal obtained a dividend of $30.2 million and $7.5 million,

respectively, from the proceeds of that loan. GX571, 572, 1033, 1078.

      Later in 2016, the defendants set their eyes on a new goal: acquiring

AccentHealth, one of Outcome’s biggest competitors, to further their ambition

of growing Outcome into a billion-dollar company. GX657; Tr. 266–67, 430,

3805, 5748, 7775. To do so, however, Outcome needed to raise substantial

funding. GX617; Tr. 3805. Again, the company turned to JPMorgan Chase,

which—along with a consortium of banks—lent Outcome $375 million in

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December 2016. GX698; Tr. 7775. To obtain that loan, Shah and Purdy

presented the lenders with the inflated revenue figures from Outcome’s 2015

audited financial statements, which all three defendants obtained by lying to

and deceiving Deloitte.

         After defrauding lenders to the tune of nearly half a billion dollars in

2016, Shah, Agarwal and Purdy used the same playbook to defraud investors

out of $487 million in 2017. With this influx of cash, the investors and Outcome

laid the groundwork for an initial public offering in the future, aiming to

generate lucrative returns for all parties involved. Tr. 6634, 7911, 8602. Shah

and Agarwal, however, would not need to wait for an IPO: as part of the capital

raise, they received a $225 million distribution. GX1071, Tr. 6673–74. That

payout was front-of-mind for Shah and Agarwal from the outset. As Shah

texted Agarwal on December 23, 2016 (the day that Outcome completed its

acquisition of AccentHealth): “I’m cautiously very excited about the [Goldman

Sachs] round[, t]he dividend out of which [would] be really big for both of us[.]

It will provide a security that will be really amazing[.]” GX702.

   II.      The Probation Officer’s and the Government’s Sentencing
            Guidelines Calculations

         The Probation Officer concluded that the defendant’s offense level was

43 and that her criminal history category was I. This flows from a base offense

level of 7; an increase of 28 levels for the amount of loss; an increase of 2 levels


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for ten or more victims; an increase of 2 levels for more than $1 million in gross

receipts from one or more financial institutions; and an increase of 4 levels for

her leadership role in the scheme. The Probation Officer determined that that

2-level sophisticated means enhancement did not apply.

      Apart from the Probation Officer’s decision not to apply the sophisticated

means enhancement, the government agrees with the Probation Officer’s

application of the Guidelines.

      A.    Sophisticated Means Enhancement

      The government objects to the Probation Officer’s decision to forego the

sophisticated means enhancement because the scheme did involve the use of

sophisticated means that Agarwal intentionally engaged in and caused. For

the sophisticated means enhancement to apply, the conduct must be “notably

more intricate than that of the garden-variety offense.” United States v.

Sheneman, 682 F.3d 623, 632 (7th Cir. 2012) (quoting United States v. Knox,

624 F.3d 865, 871 (7th Cir. 2010)); see also United States v. Harris, 791 F.3d

772, 781 (7th Cir. 2015) (“[T]he level of planning or concealment in relation to

a typical fraud of its kind is determinative.”). Here, Agarwal and her co-

schemers went to extensive and intricate lengths to plan and conceal the fraud.

      For example, in November 2012 Agarwal gave specific directions to

Ketchum for how he should go about creating a list match from various

categories of offices not yet installed in the Outcome network. GX67. And in

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May 2013, Agarwal coordinated with Ketchum on a list match where they

included uninstalled offices on list match results, but ensured that competitors’

offices did not appear on the list to avoid being discovered. GX212. And, like

Shah, Agarwal led her co-schemers to keep certain information about

projections and shortfalls from the sales team to facilitate the execution of the

scheme. See GX140.

       For these reasons and others, there is more than enough evidence to

support a sophisticated means enhancement.

       B.       The Government’s Guidelines Calculation

       After including the sophisticated means enhancement, the total offense

level is 45. The government’s Guidelines calculations are set forth below:

 Base Offense Level (§ 2B1.1(a)(1))                                                      7
 Loss more than $250 million (§ 2B1.1(b)(1)(O))1                                         +28
 More than 10 victims (§ 2B1.1(b)(2)(A)(i))                                              +2
 Sophisticated means (§ 2B1.1(b)(10)(C))                                                 +2
 More than $1 million from financial institutions (§ 2B1.1(b)(17))                       +2
 Leader/organizer (§ 3B1.1(a))                                                           +4

 TOTAL                                                                                   45


       Under Application Note 2 to the Sentencing Table in Chapter 5, an

offense level of more than 43 is to be treated as an offense level of 43. Thus,

the final offense level here is 43.            The statutory maximum sentence for



1 The Government incorporates by reference the loss arguments made in the Government’s

sentencing memorandum for defendant Shah.

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Agarwal’s offenses is 320 years’ imprisonment. Because that is technically less

than the life sentence determined by applying the Guidelines sentencing table

to an offense level of 43, the Guidelines provide for a sentence of 320 years.

   III.    The Factors Set Forth in 18 U.S.C. § 3553(a)

      A.     Seriousness of the Offense and Nature and Circumstances
             of the Offense

      As the government described in the sentencing memorandum for

Agarwal’s co-defendant, Rishi Shah, this is not the run-of-the mill corporate

fraud case where a corporate employee took advantage of a singular

opportunity to reap extra profit from a small number of transactions. Nor is

this a scheme involving a small fly-by-night company operating as the alter-

ego of its fraudster owner.

      The scheme that Agarwal initiated with Shah is extraordinary for its

involvement of senior corporate executives, as well as for its duration,

pervasiveness and scope of harm. Agarwal eagerly joined Shah’s efforts to

accelerate the growth of their company with fraudulent sales, with the

ultimate goal of raising capital and cashing out. And Agarwal personally

secured millions from the scheme. For the reasons described in Shah’s

memorandum, few corporate fraud offenses can compare to the level of

seriousness displayed in this case.




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      B.    History and Characteristics of the Defendant

      Agarwal’s role in the scheme was different from that of Shah’s—with

Agarwal ultimately less culpable than Shah. The scheme was Shah’s idea and

he drove its beginnings. Yet Agarwal knew exactly what Shah set out to do and

she fervently supported it—starting as early as 2012 and 2013 when she was

in charge of sales and worked directly with Ketchum to defraud and deceive

Outcome’s clients. While she initially pushed back and questioned the ethics

of Shah’s lies in 2011, GX2, she had insufficient moral backbone to push Shah

onto the right path or leave the company. Given Agarwal’s role in the company

and as Shah’s friend and confidant, one can reasonably question whether Shah

would have moved forward with the scheme without her support and active

participation.

      Agarwal became less directly involved in the scheme after 2013. Her role

was largely limited to lying to auditors when it was necessary to pass an audit

needed to raise capital, and to encouraging her co-conspirators to circle the

wagons and expel ethical employees concerned about the fraud at Outcome.

      Still, Agarwal’s readiness to lie to her company’s auditors demonstrates

how far she was willing to go to reap the ultimate reward of their fraud scheme.

      And it was Agarwal’s willingness to silence concerned employees and

help Shah and Desai circle the wagons that speaks volumes about her

character. Her condemnation of ethical, concerned employees disturbed by the

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fraud scheme illustrates how her desire for financial gain and her pursuit of

professional success corrupted her moral compass.

      When Adam Prowker and Liane Pierce revealed the fraud to Sameer

Kazi, it was Agarwal who was in Shah’s ear saying that they “may just have to

clean up in a lot of different areas of that org.” GX747b, 2:37 to 2:55; see also

GX673, 752, 753, 754, 780a, 878. When Ma went to Agarwal to seek direction

on the concerns he had with what he was being asked to do, Agarwal guided

Ma back onto the wrong path by rationalizing and diminishing the fraud,

describing it as throwing “smoke bombs.” Tr. 2425-26.

      Finally, Agarwal, like Shah, has not acknowledged any wrongdoing, or

shown any acceptance of responsibility or remorse whatsoever.

      C.    The Need for Deterrence

      The need to afford adequate deterrence to others is a critical part of the

sentence to be imposed in this case. Corporate fraud is often committed by

educated and affluent defendants. Neither Agarwal or any of her co-defendants

acted out of need or passion. As explained more fully in the government’s Shah

memorandum, crimes of this nature can be deterred with punishment that

includes meaningful terms of incarceration. A sentence of 10 years’

incarceration for Agarwal would deter other executives from engaging in

similar conduct, and it would also promote respect for the law for the reasons

described in Shah’s memorandum. A lower sentence raises a significant risk of

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undermining respect for the rule of law by signaling a lack of serious interest

in holding corporate executives accountable for their crimes.

   IV.   Restitution

      Restitution is mandatory in this case pursuant to 18 U.S.C.§ 3663A, at

a total amount of $455,258,505.64. Restitution should be ordered in the

amounts and to the entities set forth in the Second Supplement to the

Government’s Version of the Offense and its accompanying exhibits.

                                CONCLUSION

      Agarwal committed serious crimes for which she deserves to be punished

through a meaningful and appropriate term of imprisonment. In this case, a

variance below the Guidelines sentence is appropriate, and 10 years of

imprisonment would balance the mitigating factors in Agarwal’s favor with the

seriousness of her conduct, her personal characteristics and circumstances that

led to that conduct and the need for adequate general deterrence and support

for the rule of law.




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